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                                                     February 24, 2023

 VIA ECF
 The Honorable Taryn A. Merkl
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re:            Cuomo v. Office of the New York State Attorney General,
                Case No. 22-mc-03044;
                Cuomo v. The New York State Assembly Judiciary Committee,
                Case No. 22-mc-03027

 Dear Judge Merkl:

        On behalf of our client Governor Cuomo, 1 and following the February 7, 2023 oral
 argument in the above-referenced miscellaneous proceedings, we write to supplement the record
 concerning: (1) the scope of Governor Cuomo’s subpoenas; (2) the relatively minor burden on the
 OAG and AJC to redact and produce interview memoranda; and (3) the heavy burden on Governor
 Cuomo to subpoena dozens of third-parties to receive documents that the OAG and AJC have
 already collected. 2

        First, as we represented to the Court at the February 7 argument, we consent to the Court
 narrowing the subpoenas directed at the OAG and AJC—and would willingly have agreed to
 narrow the subpoena demands prior to engaging in motion practice had the OAG and AJC not
 taken such extreme positions. As the Court is aware, neither the OAG nor the AJC has produced a
 single document to us in response to the subpoenas served in July 2022, and OAG offered to
 produce just four documents that specifically reference Trooper 1 by name.

        Specifically, Governor Cuomo would consent to narrowing our requests to:

        1. Memoranda of witness interviews by the OAG of (a) the eleven complainants referred
           in Trooper 1’s Amended Complaint (to the extent not previously produced to Governor
           Cuomo in discovery by the Albany County District Attorney during the pendency of

 1
        All terms defined previously in Governor Cuomo’s opening memoranda of law (ECF No.
 2, 22-mc-03044; ECF No. 2, 22-mc-03027) are used consistently herein.
 2
        We apologize to the Court for the delay in submitting this letter. Ms. Trzaskoma and I were
 out of town at various points since the February 7 oral argument, which caused delay in our
 conferring and finalizing this submission.
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            the now-dismissed misdemeanor case) 3 and (b) witnesses relating to the allegations by
            the eleven complainants referenced in Trooper 1’s Amended Complaint (to the extent
            not previously produced to Governor Cuomo by the Albany County District Attorney);

        2. The witness interview memoranda of complainants Trooper 1, Brittany Commisso,
           Lindsey Boylan, and Alyssa McGrath prepared by AJC investigators and specifically
           referenced in the AJC Report (ECF No. 3-12, 22-mc-03027) (see, e.g., AJC Report at
           n. 18–22; 24; 31; 34; 46–47; 94–96; 99–104; 106–111; 113–120; 143–151; 153; 156–
           58);

        3. Records provided to the OAG by the eleven complainants whose allegations are
           reiterated in Trooper 1’s Amended Complaint;

        4. Records produced by third parties to the OAG that relate to the allegations by the eleven
           complainants; and

        5. Unredacted transcripts and the accompanying unredacted exhibits of the 41 witnesses
           whose testimony the OAG already released to the public (to the extent such unredacted
           transcripts and exhibits were not previously produced to Governor Cuomo by the
           Albany County District Attorney).

 This narrowed scope should substantially address the OAG’s and AJC’s concerns regarding
 relevancy, proportionality, burden, and legislative and law enforcement interests, while still
 providing Governor Cuomo with the evidence he needs to litigate this case without forcing him to
 replicate the same investigation.

         Second, specifically with respect to the witness interview memoranda, we believe it would
 impose only a minimal burden on the OAG and AJC to redact and produce these documents to us.
 By way of example, sealed Exhibits A through L are samples of interview memoranda prepared
 by OAG-appointed investigators for twelve witnesses that Governor Cuomo received in discovery
 from the Albany County District Attorney. Notably, as we informed the Court at oral argument,
 these memoranda consist primarily of the witness’s factual statements to the investigators. The
 redactions to these memoranda—which are quite limited—are constrained to what we presume are
 “confidential” and “work product” stamps and riders, as well as investigative work product usually
 at the end of memoranda. We expect that the other interview memoranda would require similarly
 modest, easy to implement redactions. Thus, if the subpoena were limited in the manner we
 propose above, we expect that the burden of redacting information will be much less onerous than
 what the OAG described in its opposition and during argument. This is particularly true given that
 OAG did not provide specific information about how long it took to redact the witness interview
 memoranda provided to the Albany County District Attorney’s Office for discovery purposes, as

 3
       For example, we did not receive the OAG witness interview memoranda for Trooper 1,
 Ana Liss, Kaitlin, State Entity Employee #1, State Entity Employee #2, Virginia Limmiatis, or
 Anna Ruch.
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 opposed to redacting transcripts, videos, and exhibits that the OAG decided to publicly disclose
 on the OAG website.

         Moreover, with respect to the confidentiality of the interview memoranda, the exhibits
 clarify that OAG investigators told witnesses that they “could not guarantee confidentiality.” Ex.
 A at 1; Ex. I at 1; see also Ex. K at 1. These statements specifically cut against the OAG’s
 representation that witnesses were “promised that their information would be maintained as
 confidential,” 2/7/23 Tr. 85:12–17, and that their main concern was disclosure to Governor Cuomo
 himself. 4 Accordingly, any confidentiality concerns should be assuaged by the protective order
 entered in the Trooper 1 Action. Further, as we stated during oral argument, we remain willing to
 receive information at this time on an “attorneys’ eyes only basis”—to the extent the Court deems
 that necessary—with the ability to seek the Court’s intervention in the future if any such
 information needs to be disclosed in order to for us to defend the case.

         In contrast to the relatively minor burden on the OAG, the importance of the witness
 interview memoranda is significant, and Governor Cuomo is entitled to receive them from the
 convenient source of information: the OAG. The Rule 45 inquiry specifically analyzes
 convenience as a factor and the OAG—which created the memoranda and has them in the OAG’s
 possession, custody, and control—is aptly the most convenient source for this information. Nor
 would disclosure of these interview memoranda reveal any sensitive law enforcement information
 given their factual nature and given that the lengthy and detailed OAG Report already reveals
 much of the OAG’s investigative roadmap. See, e.g., OAG Report (ECF No. 3-10, 22-mc-03044)
 at 14–15 (providing a “Summary of the Investigative Procedure”). These documents are highly
 relevant, not protected from disclosure, and should be produced to Governor Cuomo.

         Finally, we again emphasize the extraordinary burden it would impose if Governor Cuomo
 were required to recreate the OAG investigation by serving subpoenas for documents already
 collected by the OAG and AJC (including from public entities such as the Executive Chamber, the
 Empire State Development Corporation, and others) and by taking depositions of dozens of
 witnesses (many of whom may also be entitled to state-funded representation). See 2/7/23 Tr.
 95:1–9 (noting that to “re-create these two wheels” would be an “enormous amount of work”). 5

 4
       Notably, the witnesses were all interviewed while Governor Cuomo remained the
 Governor of New York State. Governor Cuomo resigned almost two years ago.
 5
           Without the interview memoranda themselves, it will be exceedingly time consuming (and
 potentially impossible) for Governor Cuomo to identify the witnesses mentioned in the OAG
 Report who had information about the complainants’ allegations or learn these facts through other
 depositions and subpoenas. For example, with respect to Trooper 1 specifically, the OAG Report
 mentions the “the Trooper in the tail car,” “another Trooper,” and “[a]nother member of the PSU”
 who purportedly corroborated Trooper 1– without identifying these individuals. See OAG Report
 (ECF No. 3-10, 22-mc-03044) at 36, 38, 39 & 39, n.294 (“Specifically, the PSU member told
 us . . .”); see also id. at 39, n.287 (“The Trooper who Trooper #1 thought was sitting on the desk
 on the 38th floor did not recall this conversation, although he said it was possible it happened. Two
 other witnesses said that Trooper #1 told them about this incident after it occurred.”). In yet another
 example, regarding State Entity Employee #1’s allegations—whose identity remains unknown to
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 Even if Governor Cuomo were taking the laboring oar on this effort, every other party and
 witness—including other parties and witnesses whose representations are being or would be
 funded by New York taxpayers, and Trooper 1 herself—would be dragged along for this very
 expensive and time-consuming ride. Under these extraordinary circumstances, where requiring
 disclosure would dramatically streamline and simply what will otherwise be a costly and time-
 consuming discovery process, disclosure of the narrow set of materials outline above is more than
 warranted.



                                                      Respectfully submitted,



                                                      By: /s/ Rita M. Glavin
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 Governor Cuomo but her allegations are included in the Amended Complaint—the OAG Report
 states that investigators “interviewed State Entity Employee #1’s current supervisor, as well as the
 organization’s general counsel, and two colleagues . . . [and] one of the friends to whom State
 Entity Employee #1 reported the incident.” Id. at 96.
